                                                                                          filed
                        IN THE UNITED STATES DISTRICT COURT FOR' 'HE
                                                                                     itlOPEN^cgURT
                                EASTERN DISTRICT OF VIRGINIA

                                       NORFOLK DIVISION                              JUL 1 8 2025
 UNITED STATES OF AMERICA


           V.                                           Case No. 2:25-cr-3


 BRAD KENNETH STAFFORD.


           Defendant.



                                     STATEMENT OF FACTS


       The United States and the defendant, BRAD KENNETH STAFFORD, (hereinafter,

 STAFFORD”), agree tliat at trial, the United States would have proven the following facts beyond

a reasonable doubt with admissible and credible evidence:


                                         Initial Investigation


        1.      In January 2023, a law enforcement officer who was then STAFFORD'S neighbor

in a residential neighborhood in Suffolk, Virginia, became concerned with STAFFORD'S behavior

and spoke about their concerns with a colleague who was a Task Force Officer with the Federal

Bureau of Investigation (“FBI”).       This neighbor later became a Confidential Fluman Source

(“CHS”) for the FBI.

       9
                The CHS was aware that STAFFORD was making homemade ammunition, and

also noticed that STAFFORD had disfigured his hand and was missing three fingers, which

STAFFORD told the CHS resulted from a homemade accident.             Records obtained from Sentara


Obici Flospital showed STAFFORD was admitted to the emergency room on or about July 31,

2021, with a completely amputated right thumb, partially amputated right middle and index

fingers, hearing loss, and scalp lacerations.   STAFFORD falsely told the hospital his injuries were

caused by fireworks.      The investigation later revealed that STAFFORD’S injuries resulted from


                                                   1

                                                                                                  ^K(r
his misfire of a launcher at the rural property of Family Member 1 and Family Member 2, in Zuni,

Virginia, where SPAFFORD routinely denotated explosives he had made.

        3.     In April 2023, SPAFFORD commented to the CHS that it would be nice to have an

AR platform with a 10-inch barrel, to which the CFIS responded one would need to be careful

legally. SPAFFORD responded with a comment about “another infringement.”                  Over the


following months, the CHS went with SPAFFORD for target practice to a local gun range where

SPAFFORD had a membership.         On one occasion in May 2023, the CHS observed SPAFFORD

at the range with what appeared to a short barrel rifle {i.e., a rifle with a barrel shorter than 16

inches). In June 2023, after shooting at the range with the CHS, SPAFFORD stated that “we need

to bring back political assassinations,” to which Family Member 3 responded, “for real.     During

that conversation, SPAFFORD discussed making Tannerite with a substance that makes it as

strong as dynamite, and stated he likes to set it off with homemade blasting caps.      On another

occasion in June 2023, the CHS was at SPAFFORD's residence and SPAFFORD showed them

thirty-round magazines that he stated he had cleaned with a special solution to remove DNA and

fingerprints, and placed the magazines in what SPAFFORD described as a printless bag that does

not collect biometrics.   In July 2023, SPAFFORD told the CHS they should go shooting again.

and that he was using homemade targets with photographs of the President for target practice.

       4.      The CHS retired from their law enforcement job and moved away from

SPAFFORD’s neighborhood in Suffolk; thereafter, SPAFFORD and the CHS continued to

communicate electronically.    In September 2023, SPAFFORD sent the CHS a picture of a new

 go box” in his car, which contained an apparent short-barrel rifle, ammunition, magazines,

medical kits, a Tyvek suit, and other items:




                                                                                                       V
                                                 2
                   p?
                               m


On or about July 29, 2024, approximately two weeks after the assassination attempt of then-

presidential candidate Donald Trump, SPAFFORD messaged the CHS, “bro I hope the shooter

doesn’t miss Kamala.      On or about the same day, SPAFFORD also told the CHS he was pursuing

a sniper qualification at the local range.

        5.      In September 2024, SPAFFORD, Family Member 3, and Family Member 4,

purchased a 20.16-acre rural property in Smithfield, Virginia, in the Eastern District of Virginia.

SPAFFORD and his family, including minor children, moved there, and rented out their former




                                                 3

                                                                                                      0H-
home in Suffolk.    On or about October 19, 2024, the CHS visited SPAFFORD at the Smithficld

property.    SPAFFORD and Family Member 3 gave the CHS a tour of the property.                  Family

Member 3 asked SPAFFORD what was in their deep freezer in the Mason jar, and SPAFFORD

responded it was HMTD, which he said he had kept in the freezer for several years as a test to see

how long it would last.    When Family Member 3 expressed concerns about having it with kids

around, and with Family Member 3 digging food out of the same freezer where SPAFFORD stored

the HMTD, SPAFFORD responded that was why he had it wrapped in orange tape and marked

'danger, don't touch.     FIMTD, or Hexamethylene Triperoxide Diamine, is an organic peroxide-

based primary explosive, and is a white crystalline solid with the appearance of sugar or salt.

Primary explosives are highly sensitive, and easily detonate as a result of impact, friction, or

temperature changes.      SPAFFORD then commented he also had ETN, which is Erythritol

'fetranitrate, a secondary explosive.    Both ETN and HMTD can be homemade with commercially

available chemicals.


        6.      SPAFFORD also told the CHS he has an AR-15 that is “technically" a SBR, i.e., a


short-barrel rifle, but that he doesn’t have it registered because he doesn’t “believe in any of that.

SPAFI’ORD also sated he wanted to install a turret for a 50-caliber firearm on the roof of his house


with an armored plate in order to have 360-degree coverage.        The defendant stated, “they can’t

get close enough if I’m mowin’ down on my fifty cal'

        7.      On or about December 6, 2024, the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF") reported that it had no records of any firearms registrations by the defendant.

                                        Interview of SPAFFORD


                On December 17, 2024, law enforcement executed an arrest warrant for

SPAFFORD pursuant to a federal criminal complaint charging him with possession of an




                                                   4
unregistered short barrel rifle.   For safety purposes, SPAFFORD was arrested outside his property

at a traffic stop while he was driving to work.   Immediately following his arrest, law enforcement

began executing a federal search waiTant at the Smithfield property, which consisted of a team of

federal agents, explosives experts, and local law enforcement officers, and took several days.

Law enforcement who arrested SPAFFORD provided him with warnings pursuant to Miranda v.

Arizona, and SPAFFORD agreed to speak with agents.

        9.      SPAFFORD was asked about having a short barrel rifle and stated he did not know

how long the barrel was and, when asked whether he knew it would have to be registered, stated

that he "never really thought about it.''

        10.     SPAFFORD denied any involvement with improvised explosive devices (“lEDs”),

claiming “all Fve worked on is fireworks” and that he injured his hand with fireworks. Early in

the interview, agents told SPAFFORD the Smithfield property was in the process of being

searched, and repeatedly asked him whether there was anything on the propert}' that could

endanger the safety of anyone there, which SPAFFORD repeatedly falsely denied throughout the

course of the 2 hour and 45 minute interview.     Excerpts are below:

        Q.      (referring to execution of search w’arrant) And nothing that’s gonna hurt
                them there, nothing that’s going to...?
        A.      No...no. ... There’s guns locked up in the safe, had the gun in my car, ...
                and my lunchbox. .lust unloaded guns. I keep everything safe with the
                kids around.




        Q-      Somebody mentioned ... a shed or something. ... Is there anything in there
                that would be of concern?
        A.      ...There are several buildings out there ... the only place I’ve got ammo,
                gunpowder is in the garage.
        Q.      Do you keep any ol' the old fireworks that you made ... are those around
                anywhere?
        A.      Probably ... honestly ... I don’t know what to do with it. I don’t know how
                to get rid of it.



                                                  5
       Q.      ... Fm just saying if it is let us know so we can let them know where it’s at.
               That way they’re not...
       A.      Just the components. F ve got boxes with the components and powders and
               stuff...
       Q-      Maybe in the garage somewhere or like boxes in the house?
       A.      ... in the garage, yes, but none of that’s dangerous. ... 1 don’t know how to
               dispose of fireworks. How do you dispose of fireworks?



       Q-      Have you ever messed with Tannerite ... stuff like that?
       A.      I don’t have any Tannerite.




       Q-      Nothing else that you can think of that would be of concern for them out
               there?
       A.      .... no. {note: he mumbles this and it’s possible he stales "1 don 7 know. ”)



       Q-      You said it’s fireworks and explosives. Anything else you made or kind of
               played with or were thinking about making?
       A.      Like, like what?
       Q-      IEDs...other...I don’t what else can you make.
       A.      IEDs...in America?




       Q.      There’s nothing out there to hurt anybody? ...
       A.      {shaking head) No. There’s nothing ... there’s nothing out there that’s going
               to hurt anybody. Fm not trying to hurt anybody.

       11.     Agents specifically      asked   SPAFFORD      about having     HM'fD,     which he

acknowledged he had made and researched, and that he kept it in the freezer in his garage at the

Smithfield property.      He stated he had the HMTD for four years, had moved it to the Smithfield

property, but was “scared to do anything with it.     When asked whether it would be a concern if


his children accessed the FIMTD, he responded “I don’t know.”

                                      Search Wan'ant Execution


       12.     At the same time as the execution of the arrest warrant, the FBI executed search




                                                  6
                                                                                                efl^
warrants for the Smithfield property, SPAFFORD's person, and vehicles.        In a safe in the master

bedroom of SPAFFORD’s house, agents found a Palmetto State Armor>^ PA-15 rifle, which was

later determined to have a 10.5-inch barrel, consistent with the appearance of the firearm in the

image SPAFFORD had shared previously with the CHS.                Agents also found ammunition

compatible with the rife.   A'fF tested the rifle and found it to be an operable firearm.

       13.     The FBI also found approximately 155 improvised explosive devices (“lEDs”) at

the Smithfield property, which appeared to be homemade pipe bombs.         All but six were found in

the garage, which was unlocked at the time of the search. The garage also was used to store

household items and children's toys.     Most of the lEDs were found in ammunition canisters.

Others with a yellow top were loaded in a brown canvas item depicted below.       The remaining six

were found in a backpack on the floor of the master bedroom, consisting of three sets of two

devices connected to each other.      Some of the lEDs had handwritten identification on them,


including “lethal” and “concussion.     Example images are below:




                                                                                                  ^Li)
                                                                                                   W 1,1
                                                 1
        14.       The lEDs were grouped based on appearance, characteristics, and fiising systems.

One from each group was rendered safe, for a total of nine, numbered in FBI records as Devices

#1 through #9 as depicted below, which were subsequently analyzed by an FBI explosives

laboratory.

                           *
                                       V   .


                                                                               «.
                                                                                         «


                                                                                    ■>
                  11^


              I




                                   V



                                                                       .   <


                                                                                             I


                                                                           '** !

                        ' Device               DeuailS   ^Devic«#5 . DeviceK - ^Device*? >Dewice*3 ,^pevicef1 Oeviee«6    Omce If
              r-


                                                                                                                         ■ '4
The remaining lEDs were detonated on scene for safety reasons.                                              Of the nine analyzed devices,
                                                                                                                                            AlV-




                                                                                   9
all nine were determined to be lEDs or homemade bombs, consisting of an explosive main charge

and initiating system.   One device, Device #9 with the yellow top, was found to have propellant

capabilities consistent with use in a launcher.    In addition, all devices except Device #6 (shown

at left in the immediate picture above) contained hardened plastic containers and/or metal or hard

plastic spheres that rendered the lEDs capable of causing property damage, personal injury, and/or

death, rendering them destructive devices.        Approximately 25 of the lEDs were consistent in

appearance with Device #6.    An example x-ray showing spheres included in one device is below:


                                                  f L       R




       15.     Also in the defendant’s garage, the FBI found numerous materials indicative of the

manufacture of lEDs, including lED components like hobby fuses, powders, metal spheres, and

cut pieces of PVC pipe, and equipment including a device to grind powder, a colander, and a

mixing bowl with a powdered substance. Agents also found riot gear, Tannerite, two empty

grenade canisters and an improvised homemade claymore, or mine.          There were also numerous

precursor chemicals that can be used to manufacture explosive materials.        Agents also found


                                                   10
numerous rounds of homemade ammunition, including plastic bags hand-labeled as rounds that

were “alcohol cleaned,” consistent with the “biometric” bag the defendant had mentioned to the

CHS.


        16.     Also in the garage was a cleai' bag hand-labeled “ETN," which an on-scene test

confinned to be in fact ETN, and a substance labeled “Tannerite.”       In a freezer in the garage,

agents found a jar consistent with the HMTD SPAFFORD described to the CHS and in his

interview.    As depicted below, it was stored near Hot Pockets, popsicles, and Go Guil.




                                                                                               fylif   V
                                                                                                       A
                                                                                                09C
                                                 11
                                                                                                   i




The Mason jar was detonaled on scene and a soil sample from the explosion was negative for

HMTD, whieh could be caused by degradation of the substance or the imprecision of the soil

sampling method.

        17.     In the home in a notebook bearing the label of the defendant’s employer, agents

found numerous handwritten recipes and notes regarding how to manulheture explosive materials

and devices, as well as inventories of the same.    This included a recipe for HMTD, noting it was

'Very sensitive to friction/shock/flame,” a recipe for ETN, a list of grenades with different colors,

and instructions for how to make various grenades including “stinger” and “concussion” grenades.

                                   Review of Electronic Devices


        18.     Agents also seized numerous electronic devices, which were subsequently

reviewed.     On SPAFFORD’s phone, there were numerous videos of detonations by STAFFORD

at the property of Family Member 1 and Family Member 2, in Zuni, Virginia.          There were also

numerous images of apparent lEDs, both completed and in progress, which were consistent in

appearance with those later found at the Smithfield property.    One example is below:


                                                   12
       19.     The defendant had also downloaded documents, books and guides including

Improvised Primary Explosives, The Encyclopedia of Poisons and Antidotes, and High Energy

Materials.


       20.    The defendant’s phone contained numerous text message discussions about

explosive materials and devices:

              a.    On or about March 7, 2021, the defendant told Associate 1, “I need
                    nitromethanc and we are making c4 ... 1 gal can make 301bs boom
                    boom sticks.”


              b.    On or about April 27, 2021, the defendant told Associate 1 that “[t]his
                    ETN is stupid powerful. It’s more than HMTD.”

              c.    In June 2021, Family Member 1 asked the defendant where they could
                    purchase certain precursor materials, and the defendant referred them
                    to a website he used. The defendant also instructed Family Member 1
                    that one chemical was more sensitive than another.


               d.   On or about June 24, 2021, the defendant asked Associate 1, ‘'When
                    we gonna blow stuff up ... I got stuff i assembled months ago I need
                    to dispose of”   Several days later, Associate 1 asked the defendant
                    what he was doing for the 4^^ of July, and the defendant responded,
                    “Celebrating america the beautiful with illegal explosives! .. . We can
                    blow up . . . rioters.” Later that day, the defendant stated “I keep
                    forgetting to build something while I’m at work.”

               e.   On or about July 3, 2021, the defendant told Associate I, “Need
                    something to test the frag on a new 37mm g’nade. . . I get afraid and
                                                                                                    V
                                                                                              ^4/
                                                 13
                    also a bone when I look at them.


               f.   The defendant and Associate 1 also had discussions shortly after the
                    defendant's accident that disfigured his hand. On or about July 30,
                    2021, the detendant stated, '‘No one is asking any more about the
                    accident than just a firework accident. I don’t really have a plan if it
                    is investigated by police, hopefully it doesn’t but ill stash everything.”
                    On or about August 2, 2021, Associate 1 told the defendant that they
                    and Family Member 1 “got you covered as far [as] stashing every
                    thing.” The defendant wrote that he heard from Family Member 2
                    that Associate 1 and Family Member 1 had “picked up all the pieces”
                    following the accident. Several days later, the defendant told
                    Associate 1 to “bring all my stuff back” and that Family Member 1
                    had recently “[bjrought my rifle back.” Alter Associate 1 agreed, the
                    defendant told Associate 1 to “be super careful with those glasses
                    bottles. That stuff is incredibly dangerous.”

               g.   On or about July 30, 2024, Family Member 3 wrote the defendant,
                    “We never fulfilled our purpose maybe that’s why we’re so
                    unfulfilled.” 'fhe defendant responded, “We should blow up
                    Congress.”

       21.    I’he seized electronic devices also contained multiple discussions involving the

defendant regarding the unlawful use or possession of firearms:

              a.    In August 2023, Family Member 4 told the defendant about a meeting
                    of a public school board about a school policy, and the defendant
                    responded, “someone needs to shoot them meetings up.”

              b.    In October 2023, after Family Member 4 told the defendant they had
                    filled out an ATF registration form for one of their firearms, the
                    defendant responded, “don’t register anything.” The next month, he
                    stated “I shoot a 10.5 barrel with a stick, I honestly don’t worry about
                    the arbitrary backwards ATF rules.”

               c.   The defendant also had numerous pictures of the same short barrel
                    rifle as that seized at his home, including the below, shown laying
                    below a legal firearm:




                                                                                                           ,K


                                                                                                 V'"’ \A
                                                  14
       22.     During the course of the investigation, no specific plans to implement violence or

to distribute the subject devices were discovered.

                                            Conclusion


       23.     'I'he evidence and investigation confirm that on or about December 17, 2024, in the

Eastern District of Virginia, the defendant, BRAD KENNETH SPAFFORD, did knowingly

possess a firearm that was required to have been registered in the National Firearms Registration

and Transfer Record, to wit: a Palmetto State Armory PA-15 S/N SCD403476 short barrel rifle;

and was not registered to the defendant in the National Firearms Registration and I’ransfer Record.

       24.     The evidence and investigation further confirm that on or about December 17,

2024, in the Eastern District of Virginia, the defendant, BRAD KENNETH SPAFFORD, did

knowingly possess a firearm that was required to have been registered in the National Firearms

Registration and Transfer Record, to wit: an improvised explosive device identified in FBI records

as Device #4; and was not registered to the defendant in the National Firearms Registration and

Transfer Record.


       25.     This statement of facts includes those facts necessary to support the plea agreement

between the defendant and the United States.     It does not include each and every fact known to

                                                                                                       \
the defendant or to the United States, and it is not intended to be a full enumeration of all of the



                                                 15
facts surrounding the defendant’s case.

       26.     The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.


                                                Respectfully submitted.

                                                Erik S. Siebert
                                                United States Attorney



                                          By:
                                                E. Rel5ecca Gaiitl ^
                                                Assistant United States Attorney



                                          By:
                                                Luke Bresnahan
                                                Assistant United States Attorney




                                                 16
       After consulting with my attorney and pursuant to the plea agreement entered into this day

between the defendant, BRAD KENNETH SPAFFORD, and the United States, I hereby stipulate

that the above Statement of Facts is true and accurate, and that had the matter proceeded to trial,

the United Stales would have proved the same beyond a reasonable doubt.




                                                   :AE^ Kia^TH SPAFFORD


       1 am Jeffrey Swartz, defendant’s attorney.       I have carefully reviewed the above Statement

of Facts with him.   To my knowledge, his decision to stipulate to these facts is an informed and

voluntary one.




                                             Jeffrey Swart:Esq.        .
                                             Attorney for BRAD KENNETH STAFFORD


       I am Lawrence Woodward, defendant’s attorney.            I have carefully reviewed the above

Statement of Facts with him.    To my knowledge, his decision to stipulate to these facts is an

informed and voluntary one.



                                               r        f /                  /
                                             Lawrence II. Woodward, Jr., Esq.
                                             Attorney for BRAD KENNETH SPAFFORD




                                                   17
